                       Case 3:23-cv-05212-KKE Document 12 Filed 05/05/23 Page 1 of 3


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                                           United States District Court
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                                    Qf
                                         Western District of Washington
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                            '<»'




   Christopher C. Johnson
                                                           Case Number:[3:23^0^12-BHS]
  Plaintiff(s)                                             APPLICATION FOR LEAVE TO APPEAR
                                                           PRO HAC VICE
  V.

  iTransunion LLC, et al.




  Defendant(s)

 Pursuant to LCR 83.1(d) of the United States District Court for the Western District of Washington,
  Savannah M. Loftis
                                                 ^hereby applies for permission to appear and participate as
 counsel in the above entitled action on behalf of the following party or parties:
  Defendant Trans Union, LLC




 The particular need for my appearance and participation is:
  [Savannah M. Loftis and Schuckit & Associates, P.C. are national counsel for Trans Union, LLC and have been
  [retained as lead counsel forTrans Union, LLC in this matter.




   Savannah M. Loftis
 I,:                                             understand that I am charged with knowing and complying with
 all applicable local rules;

 I have not been disbarred or formally censured by a court of record or by a state bar association; and there are
 not disciplinary proceedings against me.

 I declare under penalty of perjury that the foregoing is true and correct.


              May 5, 2023                                                     Savannah M. Loftis
 Date;                                           Signature of Applicant: s/

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 Pro Hac Vice Attorney
                                   Savannah M. Loftis
 Applicant's Name:
                                   Schuckit & Associates, P.C.
 Law Firm Name:

                                   4545 Northwestern Drive
 Street Address 1:

 Address Line 2:
      Zionsville                                              IN                    46077
 City:.                                                State:               .Zip:

                          317-363-2400.Ext.Il 5                         .36051-41                 Indiana
 Phone Number w/ Area Code                                          Bar#'                    .State

                              sloftis@schuckitlaw.com
 Primary E-mail Address:
 (Primary email address must be for the Pro Hac attorney and not a subordinate or staff member)
                                 paralegals@schuckitlaw.com
 Secondary E-mail Address:
 (Additional contact email for questions during the application process)


                                        STATEMENT OF LOCAL COUNSEL

 I am authorized and will be prepared to handle this matter, up to and including trial, in the event the
             Savannah M. Loftis
 applicant                                                                   Js unable to be present upon any date

 assigned by the court.

          May 5, 2023                                                  Nicholas Ranallo
 Date:                             ^Signature of Local Counsel: s/
                                   Nicholas Ranallo, Esq.
 Local Counsel's Name:
                                   Ranallo Law Office
 Law Firm Name:


 Address must be within the geographical boundaries of the Western District of Washington per LCR
 83.1(d)(2).
                                   5058 57th Avenue South
 Street Address 1:

 Address Line 2:
      Seattle                                               WA                      98118
 City:_                                                State:               -Zip:
                                   831-607-9299                          51439
 Phone Number w/ Area Code                                          Bar #




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            St^        ^
           sy


                                    Electronic Case Filing Agreement
   ^.

     /'.




        By submitting this form, the undersigned understands and agrees to the following:

    1. The CM/ECF system is to be used for filing and reviewing electronic documents, docket sheets, and
           notices.


    2. The PACER password combined with your login, serves as your signature under Federal Rule of Civil
        Procedure 11 and 5(d)(3)(C). Therefore, you are responsible for protecting and securing this password
           against unauthorized use.

    3. If you have any reason to suspect that your password has been compromised in any way, you are
           responsible for immediately notifying the court. Court staff will assess the risk and advise accordingly.

    4. By signing this Registration Form, you consent to receive notice electronically and waive your right to
        receive notice by personal service or first-class mail pursuant to Federal Rule of Civil Procedure
        5(b)(2)(C), except with regard to service of a complaint and summons or sealed documents. This
        provision does include electronic notice of the entry of an order or judgment.

    5. You will continue to access case information via the Western District of Washington's website or
        through the Public Access to Court Electronic Records (PACER) system. A PACER login and password is
        required to electronically file. You can register for PACER access at their website:
           www.pacer.uscourts.gov.


    6. By completion of this registration, the undersigned agrees to abide by the rules and regulations in the
        most recent General Order, the Electronic Filing Procedures developed by the Clerk's Office, and any
        changes or additions that may be made to such administrative procedures in the future.

                  I have completed, or will complete immediately after submitting this form, the creation of a
           •      PACER - Case Search Only account and submitted my request for Pro Mac Vice Attorney
                  Admission access as required per the Pro Mac Vice Application Guide.

                      May 5, 2023                    Savannah M. Loftis
        Date Signed                     .Signature s/_
                                                         (Pro Hac Vice applicant name)




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Revised March 6, 2023                                                                                        Page 3 of 3
